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Marty B. Mc`AT`ée
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FoR THE WESTERN DISTRICT TENNESS__EE ` ._ t
WESTERN DIV!SIoN tt "1" *J-F`_t

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UNITED STATES OF AMERICA,

Plaintiff,
vs. No.: 04-20100
KYBIRC DOUGLAS,

Dei`endant.

 

ORDER ON DEFENDANT KYBRIC DOUGLAS
MOTION TO CONTINUE SENTENCING

 

This matter came to be heard upon the Motion of the defendant Kybric Douglas
for a continuance 01` the Sentencing hearing in this matter. The Court finds that this

motion is Well taken and Should be granted, and this matter Should Set for Sentencing on

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Honorable J on McCalla
US DISTRICT COURT

